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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

DAVID FLEURY and ALVIN TURNER                       )
individually and on behalf of a class of            )
similarly situated individuals,                     )
                                                    )
                Plaintiffs,                         )          Case No. 20-cv-00390
                                                    )
v.                                                  )          Hon. LaShonda A. Hunt
                                                    )
UNION PACIFIC RAILROAD COMPANY,                     )          Magistrate Jeffrey Cole
a Delaware Corporation,                             )
                                                    )
                Defendant.                          )
                                                    )

           PLAINTIFFS’ OPPOSED MOTION FOR RECONSIDERATION AND
          FOR LEAVE TO EXTEND DEADLINE TO FILE RESPONSE INSANTER
              TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         Plaintiffs David Fleury and Alvin Turner (“Plaintiffs”), by and through their undersigned

counsel, hereby move this Court for (i) reconsideration of its June 2, 2025 Minute Entry (Dkt.

367) granting Defendant’s Opposed Motion to Strike Plaintiffs’ Response to Defendant’s

Summary Judgment Motion, Response to Local Rule 56.1 Statement, and Statement of

Additional Material Facts (Dkt. 365) and (ii) for an order granting Plaintiffs leave to file their

Response to Defendants’ Motion for Summary Judgment and accompanying Response to

Defendant’s LR 56.1 Statement and Statement of Additional Material Facts instanter. In support

of this Motion, Plaintiffs state as follows:

I.       INTRODUCTION

         Plaintiffs sincerely apologize to the Court for the late filing of their Opposition to

Defendant’s Motion for Summary Judgement which necessitated this Motion. We fully

understand the Court’s frustration with deadline issues in this case, and we recognize the

importance of court deadlines. The Court has been generous (to both sides) with page limits and
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extensions throughout this litigation, and Plaintiffs deeply regret that our conduct did not reflect

the respect and appreciation that such accommodation deserves.

        All of that said, the interests of justice clearly justify granting Plaintiffs leave to file their

Response brief and accompanying materials instanter. Under the circumstances here, given the

absence of any genuine prejudice to the Defendants associated with the delay, the relatively brief

number of hours it was late (less than a half day), the complexity of the numerous filings, the

good-faith effort to get the brief and its numerous exhibits on file in a timely manner, and the

importance of the issue to so many individual people, not permitting the filing would be

inconsistent with the Federal Rules of Civil Procedure, which strongly prefer a fair and just

ruling on the merits.

        Accordingly, Plaintiffs respectfully ask the Court to consider the circumstances that led to

the delay, and grant leave to file their Response brief.

II.     DISCUSSION

        A. Legal Standard

        Rule 60(b) provides: “On motion and just terms, the court may relieve a party . . . from a

final judgment, order, or proceeding for . . . (1) mistake, inadvertence, surprise, or excusable

neglect; . . . or (6) any other reason that justifies relief.” Fed. R. Civ. P. 60(b)(1) & (6). When a

party seeks to file an untimely response to a motion for summary judgment, the Seventh Circuit

has instructed courts to follow the criteria announced in Pioneer Investment Services Co. v.

Brunswick Associates Ltd. Partnership, 507 U.S. 380, 395 (1993). See Raymond v. Ameritech

Corp., 442 F.3d 600, 606 (7th Cir. 2006). Those criteria include “all relevant circumstances

surrounding the party’s omission” such as “the danger of prejudice to the [defendant], the length

of the delay and its potential impact on judicial proceedings, the reasons for the delay, including




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whether it was within the reasonable control of the movant, and whether the movant acted in

good faith.” Raymond, 442 F.3d at 606 citing Pioneer, 507 U.S. at 395.

       Motions to strike generally are disfavored, although they may be granted if they remove

unnecessary clutter from a case and expedite matters, rather than delay them. Heller Fin., Inc. v.

Midwhey Powder Co., Inc., 883 F.2d 1286, 1294 (7th Cir. 1989); Doe v. Brimfield Grade School,

552 F. Supp. 2d 816, 825 (C.D. Ill. 2008). The decision whether to strike is within the discretion

of the court. Talbot v. Robert Matthews Distrib. Co., 961 F.2d 654, 665 (7th Cir. 1992).

       B. Plaintiffs’ Untimely Filing was the Result of Good-Faith, Excusable Neglect.

       During the December 19, 2024 scheduling hearing, the Court emphasized that the agreed-

upon deadlines were “firm.” However, the Court also stated that if interim deadlines slipped by a

day due to “extenuating circumstances” or “CM/ECF not cooperating,” the Court was “not

concerned with things like that” and “won’t even make you file a motion.” (Dkt. 316 at 33-35)

(emphasis added). When Plaintiffs’ March 2025 summary judgment motion was filed two hours

and thirty-six minutes late without note, we – incorrectly and regrettably – interpreted this as

validation of our understanding of the Court’s comments.

       We acknowledge that this interpretation was flawed and that we should have sought leave

to file instanter, particularly for the second late filing. The Court is absolutely correct that we

received “the wrong message” when the Court accepted our initial delayed filing despite

Plaintiffs’ failure to seek formal leave, and we apologize for our poor judgment. As explained

below, however, the instant delayed filing was not the result of Plaintiffs trying to take advantage

of additional time to write their brief, review Defendant’s filings, or to obtain any advantage

whatsoever. Rather, it was the result of the logistics of getting a substantively-complete,




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complicated brief and its 36 exhibits on file along with the corresponding lengthy, citation-heavy

statement of material facts.

       The May 22, 2025 deadline presented Plaintiffs with a significant briefing burden:

responding to Defendant’s 40-page summary judgment motion, filing a class certification reply

brief, and submitting Daubert motions. Additionally, the Court had declined to rule on Plaintiffs’

previous motion to bar Defendant’s untimely Section 25(e) defense and directed Plaintiffs to

instead include those arguments in its response to Defendant’s summary judgment motion. (Dkt.

343.) As a result, Plaintiffs were required to heavily modify their nearly finished brief to address

the complex waiver argument in their response, causing the brief to significantly exceed the 40-

page limit and requiring significant changes to be made to the other attendant documents as well.

       While working throughout the night of May 22-23 to reduce the brief from 48 to 40 pages

and ensuring accuracy of citations and exhibits, Plaintiffs made the regrettable decision not to

file a motion for leave instanter. We believed – incorrectly – that we were operating within the

Court’s stated tolerance for minimal delays. This was poor judgment on our part and we again

apologize.

       As detailed in the attached Declaration of Thomas M. Hanson (attached as Exhibit A), the

ten-hour delay resulted from the extensive effort required to conform our response to the page

limit while addressing Defendant’s previously waived, but now-raised, Section 25(e) defense.

The significant cutting and revising also in turn necessitated continuous updates to citations and

dozens of exhibits to ensure accuracy. Plaintiffs’ counsel underestimated the logistics of

electronically filing the brief and its 36 exhibits, especially with attorney Mr. Duffner’s internet

not working properly (as detailed in his Declaration, attached as Exhibit B), and it made it simply

not possible to have the filing completed by midnight.




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        Plaintiffs’ counsel worked diligently through the night—one attorney sleeping only 45

minutes between 4:30 and 5:15 a.m., the other not sleeping at all. While we considered filing a

motion instanter, we made the mistaken decision not to do so based on our flawed interpretation

of the Court’s December 19, 2024 comments and the Court’s acceptance of our previously late

summary judgment motion. Plaintiffs’ counsel believed this understanding was again partially

corroborated by the Court’s admonition that both Parties’ Motions for Leave to File Documents

Under Seal were “unnecessary.” (Dkt. 364).

        Plaintiffs’ counsel’s conduct in completing several significant and potentially dispositive

filings – albeit slightly delayed for one of them – was diligent, or at least with a significant and

reasonable effort to be diligent, and not in any way motivated by bad faith. Plaintiffs’ counsel

acted in good faith and respectfully asks that the Court excuse its poor judgment and

misunderstanding of the Court’s comments.

        C. Defendant was not Prejudiced by the 10-Hour Filing Delay.
        As noted above, prejudice to the other party is a primary consideration in a trial court’s

discretion to allow an untimely filed brief. See, e.g., Agreliant Genetics, LLC v. Meade, No. 15-

CV-2107, 2017 WL 9516567, at *3 (C.D. Ill. Jan. 17, 2017) (denying motion to strike summary

judgment response brief because “Defendants have demonstrated no prejudice from the one-day

late amended response”); Spray-Tek, Inc. v. Robbins Motor Transp., Inc., 426 F. Supp. 2d 875,

880 (W.D. Wis. 2006) (denying motion to strike summary judgment reply brief because

“Defendant was not prejudiced by plaintiff's minimal delay in filing its reply brief and supporting

affidavits”).

        Defendant has not demonstrated any prejudice from the ten-hour delay. Defendant’s

speculation that Plaintiffs might have used the extra time to review and respond to Defendant’s

brief is 100% inaccurate. Plaintiffs’ counsel were focused exclusively on reducing their own


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brief to comply with page limits, updating citations and exhibits accordingly, and the steps

needed to actually upload and file the brief and the 36 exhibits. To be clear, Plaintiffs’ counsel

did not use any additional time to review and respond to Defendant’s brief and in fact did not

ever even review Defendant’s brief at any point prior to the filing of their own brief.

       Moreover, Defendant’s reply brief is not due until June 26, 2025, and Defendant has not

claimed any inability to meet that deadline. Plaintiffs obviously have no objection to extending

that time by 10 hours, two days, two weeks, or however long the Defendants request.

       D.      Striking Plaintiffs’ Response Brief will Make this Matter More Complex, not
               Less.

       The Seventh Circuit disfavors motions to strike untimely briefs “as they potentially serve

only to delay proceedings.” Agreliant, 2017 WL 9516567, at *3 (citing Heller, 883 F.2d at 1294).

Stated another way, striking an untimely brief may be appropriate if it would “remove

unnecessary clutter from a case and expedite matters, rather than delay them.” Kokak LLC v.

Auto-Owners Ins. Co., No. 2:18-CV-177, 2019 WL 4439868, at *1 (N.D. Ind. Sept. 17, 2019)

(citing Heller, 883 F.2d at 1294).

       Here, if Plaintiffs’ response to Defendant’s motion for summary judgment and LR 56.1

statement are stricken, the Court will be faced with deciding a fully-briefed class certification

motion, two Daubert motions and cross-motions for summary judgment with a record that will

include various facts that are both in dispute (based on the Parties’ competing LR 56.1

statements) and deemed admitted (if Plaintiffs’ LR 56.1 Response is stricken). Rather than

simplifying these proceedings, striking Plaintiffs’ response will create a complex record where

some facts in Defendant’s Local Rule 56.1 Statement are deemed admitted while others remain

disputed based on Plaintiffs’ own summary judgment motion and exhibits included in the class




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certification and Daubert briefing. This patchwork approach will make the Court’s task more

difficult, not easier.

        E. The Interests of Justice Support Reconsideration.

        While we understand and fully respect the Court’s need to maintain order and enforce

deadlines, the complete striking of responsive pleadings for a ten-hour delay – where Defendant

suffered no prejudice and no subsequent deadlines will be impacted – may result in a judgment

that does not reflect the merits of the underlying claims.

        Plaintiffs respectfully submit that the interests of justice, the substantial nature of the

claims, the number of human beings affected, and the lack of prejudice to Defendant support

allowing Plaintiffs claims to be heard on the merits rather than the significant prejudice likely

caused to Plaintiffs’ claims by the Court’s declining to grant leave to re-file Plaintiffs’ Response

to Defendant’s Summary Judgment Motion, Response to Local Rule 56.1 Statement, and

Statement of Additional Material Facts.

        Because failing to permit Plaintiffs to re-file their Response could effectively amount to

default judgment (depending on how the Court applies Plaintiffs’ cross-motion for summary

judgment), 1 the Court should take into consideration this Circuit’s “well established policy

favoring a trial on the merits over a default judgment.” Sun v. Board of Trs. of Univ. of IL, 473

F.3d 799, 811 (7th Cir. 2007). Even in cases with histories of far worse delays and repeated

flouting of Court orders, courts are loathe to enforce a sanction that could effectively decide the



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  While Defendant argues that striking Plaintiffs’ Response would lead to “likely dismissal” of this case
(Dkt. 365, ¶ 16), the Seventh Circuit has held that even in the absence of a response, “the movant still had
to show that summary judgment was proper given the undisputed facts … with those facts taken as usual
in the light most favorable to the nonmovant.” Robinson v. Waterman, 1 F.4th 480, 483 (7th Cir. 2021).
Defendant’s motion does not meet this burden, particularly in light of the evidence submitted in support
of Plaintiffs’ Motion for Summary Judgment, Motion for Class Certification and Daubert motions, as well
as the Court’s prior rulings as to the inapplicability of federal preemption. (Dkts. 47 & 266.)


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merits. Schilling v. Walworth Cnty. Park & Plan. Comm’n, 805 F.2d 272, 273 (7th Cir. 1986)

(“We reverse the district court's dismissal of this case because of our conclusion that absent such

matters as a clear record of delay, contumacious conduct, or ineffectiveness of prior sanctions, a

district court abuses its discretion when it dismisses an action without consideration of the

adequacy of lesser sanctions”).

       F. Clarification Regarding Incorporation by Reference

       Defendant also argues that Plaintiffs’ Response Brief exceeds the 40-page limit because it

“incorporates by reference” the amicus brief filed in Payton v. Union Pacific Railroad Co., No.

24-cv-153 (N.D. Ill.). Given the Court’s statement in its Minute Entry that it “does not consider

arguments or briefs ‘incorporated by reference,’” it appears that the Court has accepted

Defendant’s contention that Plaintiffs did, in fact, incorporate the brief by reference. But

Plaintiffs did not incorporate the Payton amicus brief by reference. Rather, Plaintiffs specifically

noted that space constraints prevented full articulation of certain arguments and reserved the

right to assert those arguments if necessary. Plaintiffs’ brief contained “the important points”

necessary for the Court to rule in Plaintiffs’ favor, and no additional pages were incorporated.

This notation was intended to preserve Plaintiffs’ rights while acknowledging the Court’s page

limitations, not to circumvent them.

       G. Plaintiffs Merely Sought Time to Respond to the Motion to Strike – Not to
          Disrespect Defendant or The Court.

       When Defendant filed its Motion to Strike, Plaintiffs wanted the opportunity to explain

themselves, as they are doing herein. The Court’s standing order requires that the parties propose

a briefing schedule, and Plaintiffs respectfully clarify that their request for a 14-day briefing

schedule on Defendant’s Motion to Strike was necessitated by genuine availability issues

affecting three members of the legal team. Mr. Thomas Hanson underwent a serious day-long



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medical procedure and was in the hospital on June 3, 2025; Mr. Brendan Duffner has been on

previously-scheduled international travel with his (brand new) fiancee’s family since May 23rd;

and Mr. David Gerbie is currently on paternity leave after the birth of a child. In light of these

factors, Plaintiffs sought 14 days simply to provide sufficient time to explain to the Court the

factual circumstances surrounding the delayed filing. Plaintiffs acknowledge that these

circumstances should have been communicated more clearly to the Defendant and the Court and

apologize again for any confusion this may have caused.

       III.    CONCLUSION

       Plaintiffs deeply regret the circumstances that led to this Motion and sincerely apologize

to the Court for our poor judgment. We commit to strict compliance with all future deadlines,

and will timely seek appropriate leave if any issues arise. While we do not excuse our conduct,

we respectfully request that the Court reconsider its June 2, 2025 Minute Entry in the interests of

justice and to allow this five-year old case that has now been (very) fully briefed to be

determined on the merits. As such, Plaintiffs respectfully request that the Court allow Plaintiffs’

Response to Defendant’s Summary Judgment Motion, Response to Local Rule 56.1 Statement,

and Statement of Additional Material Facts to be filed instanter.


Dated: June 4, 2025                                   Respectfully submitted,

                                                      DAVID FLEURY and ALVIN TURNER,
                                                      individually, and on behalf of similarly
                                                      situated individuals

                                                      By: /s/ Jon Loevy
                                                      One of Plaintiffs’ Attorneys

Myles McGuire
Evan M. Meyers
David L. Gerbie
Brendan Duffner



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                    CERTIFICATE OF SERVICE AND CONFERENCE

       I hereby certify that, on June 4, 2025 I caused the foregoing Plaintiffs’ Opposed Motion

for Reconsideration to be electronically filed with the Clerk of the Court using the CM/ECF

system. A copy of said document will be electronically transmitted to all counsel of record. Prior

to filing Plaintiffs conferred with Defendant regarding whether they would oppose such Motion,

Defendant has indicated that it does oppose such Motion. Plaintiffs propose that Defendant file

any Response by June 11, 2025, and that Plaintiffs shall file any Reply in Support of the Motion

for Reconsideration by June 18, 2025.

                                             /s/ Jon Loevy




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